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 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        No. 2:17-cr-0060 MCE
12                      Plaintiff,
13           v.                                       ORDER
14   PAMELA EMANUEL, et al,
15                      Defendant.
16

17           Pamela Emanuel is ordered temporarily released from custody at 11:00 a.m. on Saturday,

18   May 25, 2019, to the third-party custody of her sister, Vickie Johnson to attend her daughter’s

19   college graduation ceremony. Ms. Emanuel is further ordered to surrender herself to the

20   Sacramento County Jail no later than 10:00 p.m. on May 25, 2019. The Marshal is directed to

21   make necessary arrangements with Sacramento County for Ms. Emanuel’s release and surrender.

22   The conditions set forth in the notice to defendant being released are hereby ordered.

23   Dated: May 23, 2019
                                                     _____________________________________
24
                                                     CAROLYN K. DELANEY
25                                                   UNITED STATES MAGISTRATE JUDGE

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27   /17cr0060.ord

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